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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF INDIANA

INDIANAPOLIS DIVISION
MINDY Y. ELLIS )
Plaintiff,

Vv. 5 CASE NO.:
WAL-MART ASSOCIATES, INC., d/b/a
WAL-MART SUPERCENTER. )
Defendant.

COMPLAINT

Comes now the Plaintiff Mindy Ellis, by counsel, and alleges against Defendant as
follows:
1. The Plaintiffis Mindy Y. Ellis, who is a qualified black/African American employee of the
Baptist Christian religion, at all material times to this Complaint.
2. The Defendant is Wal-Mart Associates, Inc., d/b/a Wal-Mart Supercenter, a/k/a “Wal-
Mart”, a company doing business at 3240 S. Western Ave., Marion Indiana 46953. The
Defendant’s registered agent is C T Corporation System, located at 334 North Senate Avenue,
Indianapolis, Indiana 46204. At all material times to this Complaint, the Defendant has been an
“employer” for the purposes of Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000 (e) et
seg. (“Title VII”), and 42 U.S.C, § 1981.
3. The Plaintiff filed a Charge of Discrimination with the Indiana Civil Rights Commission
on September 16, 2019, EEOC # 470-2019-02871, and an Amended Charge of Discrimination
was filed with the EEOC on August 1, 2020. Copies of both the Charge and Amended Charge
are attached hereto, made a part hereof, and incorporated herein as Ex. A, and Ex. B. The

EEOC issued a Dismissal and Notice of Rights/ Notice of Suit Rights for EEOC # 470-2019-
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02871, on August 6, 2020 a copy of which is attached hereto and made a part hereof as Ex. C.
All administrative remedies have been exhausted and all jurisdictional prerequisites have been
met for the filing of this lawsuit.

4, The Plaintiff was initially employed by the Defendant on about November 9, 2017, as a
Customer Services Cashier. She was fired on about May 27, 2019, then rehired/ reinstated on
June 19, 2019. The Plaintiff continues to be employed by the Defendant as of the date of this
Complaint, but is currently on an unpaid suspension.

5. Prior to May 25, 2019, and since her rehire/reinstatement, she applied for but was denied
advancement into an Asset Protection, and a Manager position, either of which she was qualified
to fill. Instead, similarly situated employees that were outside of her race and/or religion, and
who had never complained of discrimination or retaliation in the workplace, were placed into
those positions. The Defendant told the Plaintiff that only individual’s with “open hours” can
be given either of the two positions. Similarly situated individuals outside of the Plaintiff's
race/color, and religion, that had schedule limitations (and who also lacked “open hours”),
however were placed into the Defendant’s Asset Protection and Manager positions.

6. On about May 25, 2019, the Plaintiff was called into a meeting with management, and given
a false and unjustified disciplinary action, which she refused to sign. The write up was for
allegedly cursing and being late in returning from a funch break. A similarly situated white
/Caucasian employee, whom by information and belief was non-Baptist however was known to
be periodically late when returning from breaks, but were not disciplined for it or fired. During
the meeting with the Plaintiff, the Plaintiff told the managers she believed she was being

discriminated against and written up because of her race/color.
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7. The Plaintiff was wrongfully terminated on about May 27, 2019 from her position, after
refusing to sign false and unjustified write up. At the same time, the Defendant retained a
similarly situated white employee with a similar or worse history of tardiness and disciplinary
history than the Plaintiff. By information and belief, the white employee also was not of the
Baptist religion. Also, similarly situated individuals outside of the Plaintiff's race/ color, and
who were not of the Baptist religion, who had worse attendance and worse disciplinary histories
than the Plaintiff, and/or who refused to sign disciplinary write ups, were in contrast, were
retained by the Defendant.

8. The Plaintiff was rehired/reinstated by the Defendant on about June 19, 2019, and placed into
a less favorable position than she previously held. The new position she was given was as a
Money Services Center Cashier.

9, She was not paid for the lost wages she incurred during the weeks between her wrongful
termination and her reinstatement.

10. The Plaintiff filed a Charge of Discrimination on September 16, 2019, EEOC # 470-2019-
02871. Init she alleged that the Defendant had discriminated against her on the basis of her
race (African American), and her religion also played a role in the Defendant’s discriminatory
conduct. (Her later Amended Charge of Discrimination provided added details regarding the
basis of the claims).

11. Inthe position of Money Services Cashier, the Plaintiff was required to take on many
responsibilities that were different from those of her original cashier position, but the Defendant
provided the Plaintiff with significantly less training for the position than it gave to the similarly

situated employees that were non-black/non-African American, non-Baptist, and/or whom had
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not protested unlawful discrimination.

12. The Plaintiff filed her Amended Charge of Discrimination on August 1, 2020. The
Amended Charge addressed additional details as to the basis of the Plaintiff's original race
discrimination claims, the claim of religious discrimination, and added a claim of unlawful
retaliation. The EEOC Notice of Rights to Sue was issued five days later.

13. ‘The Plaintiff continues to be employed by the Defendant as of the date of this Complaint,
but is currently on an unpaid suspension. On October 2, 2020 the Defendant suspended the
Plaintiff, claiming that it was their policy to suspend employees with work related arrests. The
Plaintiff was arrested (but not convicted) on a charge stemming from an incident that allegedly
occurred in May 2020 between the Plaintiff and a family member. Furthermore, by information
and belief, similarly situated employees that were non-clack/ non-African American, and/or who
were non-Baptist, and/or that had never protested of discrimination, were not suspended for
arrests that were non-work related.

14. The Plaintiff contends that the Defendant’s proffered reasons for the initial termination,
and for her recent suspension, were false and pretextual. She contends that in reality, the
Defendant discriminated against and retaliated against her on the basis of her color/race (black/
African American), her religion (Baptist), and for engaging in the protected activity of objecting
to and complaining of unlawful discriminatory and/or unlawful retaliatory treatment, all of which
violated the Plaintiffs rights under Title VII, and § 1981.

15. The Defendant’s unlawful discriminatory and/or retaliatory conduct was the direct and
proximate cause of the Plaintiff suffering the loss of her job, and job-related benefits including

income, and it also subjected the Plaintiff to inconvenience, mental anguish, emotional distress,
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and other damages and injuries.

16, The Defendant’s discriminatory and/or retaliatory conduct was also intentional,
knowing, willful, wanton, and in reckless disregard of the Plaintiff's federally protectéd rights
under Title VIL, and § 1981. Imposition of punitive damages is appropriate.

WHEREFORE, Plaintiff respectfully requests judgment against Defendant for
compensatory damages, punitive damages, reasonable attorneys’ fees and costs, and for all other
just and proper relief in the premises.

JURY DEMAND

Pursuant to Rule 38(b) of the Indiana Rules of Civil Procedure, Plaintiff demands a trial

by jury in this action.
VERIFICATION
[hereby verify under penalty of perjury that I have read and reviewed the Complaint, and that it is true

and correct to the best of my knowledge and/or belief.

f- O&d0 Signatore: ‘ 00,

Mindy Ellis, PLAINTIFE,

Respectfully submitted,

CHRISTOPHER C. MYERS & ASSOCIATES

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